Case 6:18-cv-00604-RWS-KNM Document 27-6 Filed 05/29/20 Page 1 of 2 PageID #: 523
                                 EXHIBIT E
  VIAHART LLC
  21504 Interstate 20, Wills Point, TX, 75169, USA

  Hello,

  你好


  You have been sued in the United States for trademark infringement of the US trademark Brain

  Flakes®, registration #5049910, by VIAHART LLC. You have been sued in Federal Court, in the

  eastern district of Texas, Tyler division.

  VIAHART LLC在美国东美国有起诉了你因为你们用了VIAHART的BRAIN FLAKES的商标（注册

  号5049910)。




  The lawsuit number is 6:2018cv00604.

  诉讼号是6:2018cv00604.

  If you have a lawyer and would like to settle this dispute, please contact
  jhcreedon@creedonpllc.com and copy mike@viahart.com.

  如果你有律师想解决诉讼，请你发给上面邮件地址一个邮件


  If you don’t have a lawyer and would like to settle this dispute, please contact
  mike@viahart.com
  如果你没有律师想解决这个诉讼发给mike@viahart.com邮件

  If you need a lawyer, you can find one online by searching “Texas Intellectual Property Attorney”
  or “Tyler Texas Intellectual Property Lawyer” on google.com
  如果你需要律师，你可以在google.com所搜“Tyler Texas Intellectual Property Lawyer”和“Texas
  Intellectual Property Attorney”


  If you would like to ask the court questions, you can call them with this Telephone Number:

  (903) 590-1000

  如果你有问题你可以给法院打电话+1-903-590-1000


  The mailing address for the court is:

  法院地址是：
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  VIAHART LLC
  21504 Interstate 20, Wills Point, TX, 75169, USA

  William M. Steger Federal Building and United States Courthouse, 211 West Ferguson Street,

  Room 106, Tyler, Texas 75702, USA



  If you don’t respond to the lawsuit, you may lose money or your e-commerce account. You

  should find a lawyer.

  如果你不回答诉讼，你可能会丢前及网店账户，你应该找到一个律师




  Molson Hart, VIAHART LLC, CEO | 2020/01/16
